           Case 5:13-mj-00481-STE Document 1 Filed 10/17/13 Page 1 of 3



              IN THE UNITED STATES DISTRICT COURT FOR THE 


                       WESTERN DISTRICT OF OKLAHOMA 


UNITED STATES OF AMERICA,                          )

                                                   )
                      Plaintiff,                   )

              -vs-                                 ~    No.   M - f 8 - 4 <gl-     P
                                                   )
ELIZABETH R. TATE,                                 )    Violation: 21 U.S.C. § 844
                                                   )
                      Defendant.                   )

                                   INFORMATION

The United States Attorney charges:

              On or about July 20, 2013, in Cotton County, in the Western District of

Oklahoma,

--------------------------------------ELIZABETH R. TATE, ------------------------------------­

the defendant herein, did knowingly possess a controlled substance without a valid

prescription, to-wit: methamphetamine.

              All of said acts are in violation of Title 21, United States Code, Section 844.

                                                   SANFORD C. COATS
                                                   United States Attorney


                                                   ARVO Q. MIKKANEN
                                                   Assistant U.S. Attorney

Penalties:
Not more than 1 year incarceration
Not less that $ 1,000.00 fme
Not more than a $100,000.00 alternative fine
$25.00 Special Assessment
Not more than 1 year Supervised Release
             Case 5:13-mj-00481-STE Document 1 Filed 10/17/13 Page 2 of 3



STATE OF OKLAHOMA                              )
                                               ) SS
COUNTY OF OKLAHOMA                             )

                                        VERIFICATION

                I, Arvo Q. Mikkanen, being first duly sworn, state that I have read and
know the contents of the foregoing Infonnation and, to the best of my knowledge and
belief, the statements therein are true and correct.




                                                    ARVO Q. MIKKANEN
                                                    Assistant U.S. Attorney


   "     ~ SUBSCRIBED
_~--==.::........=--=---==--, 2013.
                                      AND SWORN to before me this             n      i:b
                                                                                      day of




                                                    United States Magistrate Judge




                                             - 2­
                     Case 5:13-mj-00481-STE Document 1 Filed 10/17/13 Page 3 of 3

                                                                                                                                                        eve LocmlOn Code
                                                                                              United States District Court 

                                                                                                   Violation Notice 

                       STATEMENT OF PROBABLE CAUSE 

                  (For Issuance of an arrest warrant or summons) 

                                                                                                                                                        NOl7
                                                                                             Violation Number                   Offlcltr Name (Prfnt)             OUlcer No.

                                                                                                  1158755




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  v'   ,my personal observation                  y        my personallnvesllgalion 

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  ~ Information supplied to me from my fellow oHicer's observation 
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        other (explain above)                                                                                                                            + $25 Processing Ft
I declare undAr penally of perjury that Ihe InformaUon which I have sel lorth above and on                PAY THIS AMOUNT -+            $                          Tolal Collatera
the face of this violation nollce Is lrue and correci to I~e best o'7f knowledge.


Executed on:     Zto-U/3
                   Date (mm/dd/yyyy)
                                            ~                 WL,
                                                Officer's Signature


Probable cause has been slaled for Ihe Issuance of a warrant.

Executed on: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
              Date (mm/ddlyyyy) U.S. Magistrate Judge




                                                                                                                                                  ERT -1 

